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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

Alisa Larsen,

        Plaintiff,

        v.
                                                    CASE NO. 2:17-cv-14876
Sanofi-Aventis U.S. LLC; Sanofi US Services
Inc. formerly known as Sanofi-Aventis U.S.
Inc.,

        Defendants.


                 JOINT DESIGNATION OF GENERAL MDL RECORDS
                        TO BE INCLUDED UPON REMAND


        The parties jointly designate the following general documents from the docket in MDL No.

2740 (2:16-md-02740) to be included in the record on remand:

  No.        Date Filed   Rec. Doc.   Docket Text
   1         10/4/2016       81       Transfer Order
   2         12/9/2016      122       PTO 4 - Direct Filing
                                      PTO 5 - Amends PTO 4 re Direct Filing Complaints filed
   3         12/13/2016     131
                                      within EDLA
   4          1/3/2017      160       PTO 9 - Streamlined Service on sanofi-aventis U.S. LLC
   5         3/31/2017      312       Master Long Form Complaint
   6         4/14/2017      326       PTO 38 - Amending PFS-DFS
   7         5/26/2017      489       Omnibus Motion to Dismiss Master Complaint [312]
   8          7/6/2017      611       PTO 49 - ESI Protocol
   9          7/6/2017      612       PTO 50 - Protective Order
                                      Order amending PTO 49 and 50 designations re ESI and
  10          7/6/2017      613
                                      Protective Order
  11         7/25/2017      689       First Amended Master Long Form Complaint
                                      PSC Response in Opposition to [486] Motion to Dismiss
  12         7/31/2017      704
                                      Master Complaint
  13         8/23/2017      762       CMO-5 General Discovery Protocol - Sanofi
  14         8/25/2017      773       Reply ISO [489] Motion to Dismiss Master Complaint
                                      Minute Entry and Order re 8-30-17 Motion to Dismiss Master
  15         8/31/2017      784
                                      Complaint and Remand Order
                                      PTO 61 - Order Dismissing Count 2 and 8 of Master
  16         9/27/2017      877
                                      Complaint, 14 days to amend SFC to allege state laws
  17         10/16/2017     961       Answer to Amended Master Complaint (Sanofi)

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No.   Date Filed   Rec. Doc.   Docket Text
                               Order and Reasons Denying Sanofi’s Motion to Dismiss
18    10/27/2017     1034
                               Claims Barred by the Applicable Statutes of Limitations
                               Stipulation Related to French Defendants Sanofi SA and
19    11/3/2017      1072
                               Aventis Pharma
                               PTO 68 - 10-27-2017 Conference of the Steering Committees
20    11/13/2017     1085
                               and ESI Guidance
21    11/15/2017     1110      CMO-9 Deposition Protocol
22      1/4/2018     1462      PTO 72 - Dismissal of Sanofi SA and Aventis Pharma
23     1/12/2018     1506      CMO 12 - Product ID Order
                               PTO 71A - Replacing PTO 71 - re Governing Plaintiff's
24    1/26/2018      1531
                               Responsibilities Relevant to ESI
25    7/24/2018      3492      CMO-12A re Amended Product ID Order
26    9/27/2018      4407      Second Amended Master Long Form Complaint
27    11/8/2018      5008      CMO 15 re Pathology Protocol
                               ORDER AND REASONS re MSJ SOL (D Earnest, G
28    7/10/2019      7571
                               Johnson, Francis) LID (D Earnest, Moot Mills, Francis)
                               Order and Reasons re [6130] Motion to Exclude Bosserman
29     8/5/2019      7807
                               (Granted in Part)
                               Order and Reasons re [6186] Motions Preemption (Denied in
30    8/14/2019      7973
                               Part and Deferred)
                               Order and Reasons denying [6160] Motion to Exclude Expert
31    8/14/2019      7974
                               Testimony that Relies on Kopreski
                               ORDER AND REASONS [6144, 6163, 6149] Motions to
32    8/23/2019      8094
                               Exclude (Denied-Madigan, General; Part-Feigal) (Earnest)
                               Order and Reasons re [6162] Motion to Exclude Specific
33    8/23/2019      8095
                               Causation (Denied)
                               ORDER AND REASONS re [6155] Motion to Exclude
34    8/23/2019      8097
                               Plunkett (Denied-Deferred in Part)
                               Order and Reasons re [7322] Motion to Exclude Dr Shapiro
35    8/29/2019      8133
                               and Dr Smart's Stem Cell Opinions (Denied)
36     9/3/2019      8153      Order and Reasons re Motion to Exclude Kessler
37     9/3/2019      8198      Minute Entry re Motions in Limine MILs
38    9/10/2019      8201      Order and Reasons re: Motions in Limine
39    9/10/2019      8206      Order and Reasons re Motions in Limine MILs
40    9/10/2019      8207      Order Amending Order Re Ongoing Alopecia MIL 25
                               Order re MIL 28 FDA Jan 2011-483 Inspection GRANTED
41    9/11/2019      8216
                               and MIL 5 AERs DEFERRED
                               Plaintiffs’ Motion for Leave to File Plaintiffs’ Third
42    10/8/2019      8334
                               Amended Master Long-Form Complaint and Jury Demand
                               Defendants’ Opposition to Plaintiffs’ Motion for Leave to
43    11/20/2019     8601      File Third Amended Master Long-Form Complaint and Jury
                               Demand


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No.   Date Filed   Rec. Doc.   Docket Text
                               Motion for Leave to File Plaintiffs’ Reply in Support of
44    10/8/2019      8650      Plaintiffs’ Motion for Leave to File Plaintiffs’ Third
                               Amended Master Long-Form Complaint
                               ORDER AND REASONS Denying [8334] PSC Motion to
45    12/12/2019     8702
                               File Third Amended Master Complaint
                               ORDER AND REASONS Granting [8779] Sanofi MSJ SOL
46    1/23/2020      9110
                               (Thibodeaux)
                               ORDER AND REASONS Granting [5730] Sanofi MSJ LID
47     3/3/2020      9440
                               (Gahan)
                               ORDER AND REASONS Denying [9295] Sanofi MSJ SOL
48     4/7/2020      9885
                               (Kahn)
                               ORDER AND REASONS Granting [9299] Sanofi MSJ LID
49     4/7/2020      9887
                               (Phillips)
                               ORDER AND REASONS Granting-Denying in Part [9300]
50     4/7/2020      9888
                               Sanofi MSJ LID (Kahn)
51    5/11/2020     10338      PTO 105 Pretrial Order No. 105 re [8702, 8703]
                               Order and Reasons Denying [9946] Motion for
52    5/13/2020     10399
                               Reconsideration (Kahn)
                               ORDER AND REASONS Granting [9268] Sanofi MSJ Post-
53    5/27/2020     10464
                               December 2015 Treatment
                               Order and Reasons Granting in Part and Deferring in Part
54     6/1/2020     10487
                               Pre-December 2006 MSJ
                               Order and Reasons Denying Motion for Partial Summary
55     7/1/2020     10704      Judgment on Affirmative Defenses Under La. Rev. Stat.
                               9:2800.59
                               ORDER AND REASONS Granting-Denying in Part [6076]
56    7/23/2020     10832
                               Sanofi MSJ LID (Durden)
                               ORDER AND REASONS Granting [6077] Sanofi MSJ SOL
57    7/23/2020     10833
                               (Durden)
                               Order Deferring [10808] Motion for Order Requiring Proof
58    8/11/2020     10908
                               of Diagnosis
                               Order and Reasons Denying [10938] Motion to Exclude
59    10/21/2020    11332
                               Testimony of Michael Kopreski
                               PTO 105 Stipulation regarding PTO 105 (Amended SFC
60    10/23/2020    11347
                               Complaints)
                               ORDER AND REASONS Granting-Denying in Part [11020]
61    12/18/2020    11682
                               Sanofi MSJ (Preemption) - TYPO CORRECTED (Kahn)
                               Order and Reasons Denying [10667] Motion for
62    12/18/2020    11683
                               Reconsideration of MSJ Pre-2006 Treatment
                               Order and Reasons Denying Motion for Partial Summary
63    12/18/2020    11684      Judgment on Affirmative Defenses Concerning Alternative
                               Causes
                               ORDER AND REASONS Denying [10936] PSC Partial
64    12/18/2020    11685
                               Summary Judgment on General Causation (Kahn)

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No.   Date Filed   Rec. Doc.   Docket Text
                               Order and Reasons Denying Motion to Exclude Testimony of
65    1/8/2021      11780
                               John Glaspy
                               Order and Reasons Denying Motion to Exclude Testimony of
66    1/8/2021      11781
                               Janet Arrowsmith
                               ORDER AND REASONS Denying [10915] PSC Partial
67    1/8/2021      11782
                               Summary Judgment on Comparative Fault-Misuse (Kahn)
                               ORDER AND REASONS Granting-Denying in Part PSC
68    1/8/2021      11803
                               Motion to Exclude Testimony of Kardinal and Larned
                               ORDER AND REASONS Granting-Denying in Part [10919]
69    1/12/2021     11804
                               PSC Motion to Exclude Miletello (Kahn)
                               ORDER AND REASONS Granting-Denying in Part [10931]
70    1/12/2021     11810
                               Sanofi Motion to Exclude Feigal (Kahn)
                               ORDER AND REASONS Granting-Denying in Part [10918]
71    1/13/2021     11823
                               Sanofi Motion to Exclude Plunkett (Kahn)
                               Order and Reasons Granting Motion for Summary Judgment
72    1/13/2021     11824
                               (Crayton)
                               Second Stipulation Regarding PTO 105 (Amending SFC
73    1/14/2021     11910
                               Complaints)
                               ORDER AND REASONS Granting [11010] Sanofi MSJ
74    1/22/2021     12057
                               SOL (Greer - MS BW)
                               ORDER AND REASONS Granting-Denying in Part [11003]
75    1/29/2021     12098
                               Sanofi Motion to Exclude Madigan (Kahn)
                               ORDER AND REASONS Denying [10940] PSC Motion to
76    2/1/2021      12107
                               Exclude Wei (Kahn)
                               ORDER AND REASONS Granting-Denying in Part [10934]
77    2/1/2021      12108
                               PSC Motion to Exclude Chang (Kahn)
                               ORDER AND REASONS Granting-Denying in Part [10929]
78    2/1/2021      12109
                               Sanofi Motion to Exclude Bosserman (Kahn)
                               ORDER AND REASONS Denying [11357] PSC Motion to
79    2/12/2021     12160
                               Exclude Turegano (Kahn)
                               ORDER Denying as Moot [10999] Sanofi Motion to Exclude
80    2/18/2021     12173
                               David Kessler (Kahn)
                               ORDER AND REASONS Denying [11377, 11378] PSC
81    4/7/2021      12401
                               Motion to Exclude Tosti and MSJ Specific Causation (Kahn)
                               ORDER AND REASONS Denying [11361] PSC Motion to
82    4/7/2021      12402
                               Exclude Shapiro (Kahn)
                               Order and Reasons Denying [12195] Motion to Reconsider
83    4/7/2021      12403
                               Order re Madigan
                               ORDER AND REASONS Denying [11355] PSC Motion to
84    4/7/2021      12404
                               Exclude Azael Freites-Martinez (AFM) (Kahn)
                               ORDER AND REASONS Granting [10978] Sanofi MSJ MI
85    4/7/2021      12405
                               Law (Mixon - Michigan)
                               ORDER AND REASONS Granting [12202] MSJ on
86    4/19/2021     12491
                               Warnings (Willie)
                                       4
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No.   Date Filed   Rec. Doc.   Docket Text
                               ORDER AND REASONS Granting [12198] Sanofi MSJ
87    5/21/2021      12718
                               SOL (Roach - MS BW)
                               PSC Motion to Preserve Expert Testimony and Trial
88    5/24/2021      12729
                               Packages
                               ORDER AND REASONS Denying [12542] Motion for
89     6/4/2021      12805
                               Reconsideration SOL (Kahn)
                               Defendants' Opposition to PSC Motion to Preserve Expert
90    6/22/2021      12918
                               Testimony and Trial Packages
                               PSC Reply to Opposition to Motion to Preserve Expert
91     7/7/2021      12983
                               Testimony
                               ORDER AND REASONS Denying [12536] Sanofi Motion
92    7/14/2021      13062
                               for Reconsideration MSJ LID (Kahn)
                               ORDER AND REASONS Denying [12576] Sanofi Motion
93    7/14/2021      13063
                               to Exclude Expert Testimony of David Ross (Kahn)
                               ORDER AND REASONS Granting [12200] Sanofi MSJ
94    7/14/2021      13064
                               SOL (Smith - MS BW)
                               ORDER AND REASONS Denying [12582] PSC Motion to
95    7/15/2021      13072
                               Strike Chang (Kahn)
                               ORDER AND REASONS Granting-Denying in Part [12575]
96    7/23/2021      13131     Sanofi Motion to Exclude Supplemental Opinion of Plunkett
                               (Kahn)
97    7/26/2021      13140     Order and Reasons Denying Motion to Compel Kopreski
                               ORDER AND REASONS regarding Multiple Motions in
98    9/13/2021      13260
                               Limine (Kahn)
                               Minute Entry re Michigan Show Cause and Dismissal of
99    10/15/2021     13327
                               Cases and Briefing Schedule
                     EDLA
                              Order and Reasons Denying Motion to Quash Trial
100   11/3/2021     2:21-cv-
                              Subpoena
                   01919 - 14
                              ORDER Denied [13422] Plaintiffs Renewed Motion in
101   11/18/2021     13433    Limine to Exclude Argument for Alternative Causation
                              (Kahn)
102   3/21/2022      13946    CMO 33 - Selection, Discovery, and Remand for Wave 1
103    4/1/2022      13981    Order Granting PSC Motion to Preserve Expert Testimony
                              CMO 34 - Pursuant to CMO 33 [13946] Cases identified for
104   4/19/2022      14045
                              Wave I to proceed with discovery (re All Cases)
                              Order DENYING WITHOUT PREJUDICE MSJ on
105   5/13/2022      14207
                              Pleadings (to be re-urged in the respective District Courts)
                              ORDER Denying [13580, 13581, 13582, 13583, 13584]
106   7/26/2022      14454
                              Without Prejudice MSJ Pursuant to Mixon Order
                              CMO 35 Service of Process on all Defs Ordered by August
107   7/26/2022      14456
                              31, 2022
                              CMO 36 - Preservation of General Expert Testimony (re All
108   10/12/2022     14925
                              Cases)
                                       5
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  No.     Date Filed     Rec. Doc.    Docket Text
  109     12/6/2022       15287       CMO 12A Addendum (re All Cases)
                                      ORDER AND REASONS Denying [14509] Motion for
  110     12/29/2022       15322
                                      Reconsideration of MS (Greer) Dismissals
  111      2/23/2023       15547      CMO 34C (200 Wave I Remand Case Status) (re All Cases)
  112       3/9/2023       15673      Motion to Reconsider and Vacate CMO 36
                                      PSC Memo in Opposition to Motion to Reconsider and
  113      4/4/2023        15767
                                      Vacate CMO 36
  114      4/12/2023       15785      Reply Memo ISO Motion to Reconsider and Vacate CMO 36
                                      CMO 39 (Summary of MDL 2740 Proceeding Upon
  115      5/11/2023       15834
                                      Suggestions of Remand)
  116      5/12/2023       15836      Transfer Order of Wave 1 Cases


        The above designations are intended to supplement the parties’ case-specific designations

of the MDL docket in the above-captioned action, which will be designated separately and are

incorporated herein by reference.

        The parties further agree and stipulate that, subject to the Court’s approval, if any party

believes a relevant document was inadvertently not included in the above list, the parties may

confer and jointly supplement this joint designation without requesting a hearing or a motion to

supplement. Further, the document designations are intended to incorporate and include all

exhibits or attachments that accompanied the documents as filed.

Dated: May 22, 2023

 /s/ M. Palmer Lambert                            /s/ Gabriel J. Winsberg
 M. Palmer Lambert                                Gabriel J. Winsberg (Bar No. 38943)
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                                                  Attorney for Defendants sanofi-aventis U.S.
                                                  LLC and Sanofi US Services Inc.



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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2023, I electronically filed the foregoing with the

Clerk using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in the member cases.


                                                     /s/ Gabriel J. Winsberg




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